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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
V. Case No. 17-cr-00232 (EGS)
MICHAEL T. FLYNN,

Defendant.

 

 

[PROPOSED] ORDER

Upon consideration of the motion of criminal law professors for leave to file their
proposed amici curiae brief in support of neither party, it is hereby

ORDERED that the motion is GRANTED.

Dated:

 

EMMET G. SULLIVAN
United States District Judge

eg MET

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